                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 FINNAVATIONS LLC                   §
                                    §
     Plaintiff,                     §
                                    §
 vs.                                §
                                    §                Case No: 1:18-cv-00444-RGA
 PAYONEER, INC.,                    §
                                    §
     Defendant.                     §
 __________________________________ §


            PLAINTIFF FINNAVATIONS LLC’s ANSWER TO COUNTERCLAIMS OF
                                PAYONEER, INC.

        Plaintiff Finnavations LLC (“Finnavations”) respectfully submits this Answer to the

 counterclaims asserted by Payoneer (“Defendant”) in its Answer to Plaintiff’s Complaint

 (“Answer”).

                           PAYONEER INC.’S COUNTERLCLAIMS

                                           PARTIES

       1.      Finnavations is without sufficient knowledge to form a belief as to the

 allegations set forth in paragraph 1 and, therefore, denies the same.

       2.      Admitted.

                                        JURISDICTION

       3.      Finnavations incorporates its answers to paragraphs 1-2 herein

       4.      Admitted.

       5.      Admitted.

       6.      Finnavations admits that venue is proper in this court. Finnavations denies any

remaining allegations in paragraph 6.
                                 COUNT I
                  DECLARATION REGARDING NON-INFRINGEMENT

       7.      Finnavations incorporates its answers to paragraphs 1-6 herein.

       8.      Finnavations admits that an actual controversy has arisen and now exists

between the parties as to the infringement of Claims 9 and 17 of the ‘755 Patent.

       9.      Denied.

       10.     Finnavations admits that Defendant seeks a declaration that Defendant has not

and does not infringe the asserted claims of the ‘755 Patent.          Finnavations denies any

remaining allegations in paragraph 10.

                                     COUNT II
                         DECLARATION REGARDING INVALIDITY

       11.     Finnavations incorporates its answers to paragraphs 1-10 herein.

       12.     Finnavations admits that an actual controversy has arisen and now exists

between the parties as to the validity of Claims 9 and 17 of the ‘755 Patent.

       13.     Denied.

       14.     Finnavations admits that Defendant seeks a declaration that the ‘755 Patent is

invalid. Finnavations denies any remaining allegations in paragraph 14.



                                    PRAYER FOR RELIEF

         To the extent that any response is required to the Prayer for Relief, Finnavations

 denies that Defendants are entitled to judgment or any of the relief it has requested.
Dated: June 5, 2018                        Respectfully submitted,

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                                           ATTORNEYS FOR PLAINTIFF

                              CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service
are being served with a copy of this document via the Court’s CM/ECF system per Local
Rule CV-5(a)(3) on June 5, 2018.
                                            /s/ Stamatios Stamoulis
                                            Stamatios Stamoulis
